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ATTORNEY FOR\ Plaintiff mr g . R»U' nEPuTY

UNITED STATES DISTRICT COURT

sOUTHERN DISTRICT’S`§` WIFW§Z L. (LAB)

AT&T, Case No.

Plaintiff, COMPLAINT
vs.

Brockstar Trading Limited and
Does l to 10, inclusive,

Defendants.

Plaintiff AT&T, by its attorneys, alleges:

1. AT&T is a corporation with its principal place of
business located at 32 Avenue of the Americas, New York, New York.
2. At all times herein mentioned, defendant Brockstar
Trading Limited was a business entity, form unknown, doing

business in Newport Beach, California.

3. This Court has jurisdiction over this claim under 28
U.S.C. Section 1391, since defendants' liability arises under a
tariff filed with the Federal Communications Commission (the
"F.C.C."). Venue is proper under 28 U.S.C. Section 1391.

4. Plaintiff is unaware of the true names and capacities of
the defendants sued herein as Does l through 10, inclusive.

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Plaintiff will amend this complaint when the same have been
ascertained. Plaintiff is informed and believes and thereon
alleges that each of the fictitiously named defendants is
responsible for the obligations herein set forth and is liable to
plaintiff as herein alleged.

5. The Interstate Division of AT&T is an interstate common
carrier that provides interstate and foreign communications
services under tariffs filed with the F.C.C. These tariffs have
the force of law.

6. At all times relevant to this action, AT&T provided
commercial long distance service pursuant to Tariff F.C.C. No. 1.
Section 6.13.4 of AT&T Tariff F.C.C. and Tariff F.C.C. No. l.
Section 6.13 of AT&T Tariff F.C.C. No. 1 makes defendants
responsible for the payment of bills for long distance calls and
services. Pursuant to Section 2.5 of AT&T Tariff No. 1, payment
is due upon presentation of the bill.

7. Defendants were billed monthly from January 4, 1999
through September 4, 1999 on their AT&T CustomNet Option S
service. AT&T mailed defendants a final bill for $5,796.03
representing total charges due under the tariff. Pursuant to AT&T
Tariff F.C.C. No. l, payment was due and payable to AT&T upon
presentation of the bill.

8. Defendants were billed monthly from January 4, 1999
through October 4, 2000 on their CustomNet Service. AT&T mailed
defendants a final bill for $31,415.23 representing total charges
due under the tariff. Pursuant to AT&T Tariff F.C.C. No. 1,
payment was due and payable to AT&T upon presentation of the bill.

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9. Defendants have failed and refused to pay the entire
charges totalling $5,796.03 demanded in the final bill dated
September 4, 1999.

10. Defendants have failed and refused to pay the entire
charges totalling $31,415.23 demanded in the final bill dated
October 4, 2000.

11. After deducting payments and credits, there remains
unpaid a balance due and owing to AT&T for long distance service

in the amount of $36,697.85.

WHEREFORE, AT&T prays the Judgment be entered as follows:

1. Awarding AT&T $36,697.85 in tariffed charges for
services provided;

2. Awarding AT&T pre-judgment interest from October 4,
1999, on the sum of $5,582.62, and prejudment interest from
November 4, 2000, on the sum of $31,115.23;

3. Awarding AT&T its costs and disbursements, including
reasonable attorney's fees of prosecuting this action;

4. Granting AT&T such other and further relief as this

Court may deem just and proper in the circumstances.

Dated: February@§§ 2001. Respectfully submitted,

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Case 3:01-CV-OO422-W-5‘FS~. Document 1 Filed 03/09/01 Fj_ag_e|D.B Page 5 of 6

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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA

AT&T, Case No.
Plaintiff, CERTIFICATE AS TO
INTERESTED PARTIES
vs.

Brockstar Trading Limited and
Does 1 to 10, inclusive,

Defendants.

The undersigned, counsel of record for plaintiff, AT&T,
certifies that the following listed parties have a direct
pecuniary interest in the outcome of this case. These
representations are made to enable the Court to evaluate possible
disqualification or recusal.

AT&T, plaintiff

Brockstar Trading Limited, defendant

Dated: Februaryl€, 2001. M§L,*_j,

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At r y for Plaintiff

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Certificate as to Interested Parties

 

 

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CIVIL COVER SHEET

Tlie .lS-44 civil cover sheet and the information contained herein neither replace nor supplemcnr die filing and service of pleadings or other papers as required by law, except as provided by local
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(c)ATTORNEYS [FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)
Jeff Reich, #067250 (559) 221-1191
The Reich law Firm

1312 East Shaw, Suite 101

Fresno, CA 93710

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lV. CAUSE OF ACT|ON (C[TE THE US CIV]L STATUTE UNDER WHlCH YOU ARE FlLlNG AND WRITE A BRIEF STATEMENT Ol"
28 U.S.C. § 1391; AT&T F.C.C. Tariffs
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